Case 1:20-cv-00240-JPB Document1 Filed 01/16/20 Page 1 of 4

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT GF GEORGIA
ATLANTA, DIVISION

 

1
JOHNNY BRADFORD, ;
I
I
I
I
I
Plaintiff, CIVIL ACTION
I
FILE NO.
I
Vv. I
I
I
1
I
I
TRAVELERS CASUALTY & I
SURETY CO. OF AMERICA :
I
I
I
I
I
Defendants. i
I
NOTICE OF REMOVAL

 

PLEASE TAKE NOTICE that the Defendant TR AVELERS CASUALTY &
SURETY CO. OF AMERICA being ALL Defendants named in this action,
hereby removes to this Court the State Court action described below and

respectfully shows the Court the following:

 

 
Case 1:20-cv-00240-JPB Documenti1 Filed Ol/

A civil action was filed by the above-named Pl

16/20 Page 2 of 4

aintiff Johnny Bradford in

the State Court of DeKalb County, State of Georgia, naming as the Defendant

Travelers Casualty & Surety Co. of America, bding Civil Action File No.

19A78184, the Summons and Complaint in said civil laction being attached hereto

as Exhibit "A" and the Answer of Defendant is attached

At the time of the filing of the Complaint, the

resident of the State of Nevada.

hereto as Exhibit "B".

Plaintiff was a citizen and

At the time of the filing of the Complaint, Defendant Travelers Casualty &

Surety Co. of America was a foreign corporation incorporated in the State of

Connecticut, with its principal place of business

Connecticut.

located in the State of

The Plaintiff seeks judgment against the Defendant in sums in excess of

$75,000.00 exclusive of interest and costs, with respect to alleged medical

expenses, lost wages, both past and future, pain and suffering and mental anguish,

 

 
Case 1:20-cv-00240-JPB Documenti1 Filed 0

1/16/20 Page 3 of 4

and expenses. Plaintiff alleges recovery for Personal injuries; Past, present and

future pain and suffering: Disability; Mental angui:
enjoyment of life; Economic losses; Incidental exper
medical expenses; Lost earnings; Loss of earning ¢
Consequential damages. Plaintiff has also furnishe
medical bills and lost wages claimed in this ca

$75,000.00.

The foregoing action is properly removable td

h; Loss of capacity for the
ses; Past, present and future
apacity; Permanent injuries;
1 Defendant with a list of

se that exceed the sum of

» this Court pursuant to 28

U.S.C. § 1441(a), 28 U.S.C. § 1446(a) and (b) and, in accordance with 28 U.S.C. §

1332(a), there being diversity of citizenship between
defendants and the matter in controversy, exclusive of

the sum of $75,000.00.

Now, within thirty (30) days after receipt by a

the plaintiff and all of the

r interest and costs, exceeds

defendant of a copy of the

Summons and Complaint filed in the State Court off DeKalb County, State of

Georgia, notice is hereby given in accordance with 28
to Rule 11 Federal Rules of Civil Procedure, of the re

Court.

U.S.C. § 1446 and pursuant

inoval of said action to this

 

 
Case 1:20-cv-00240-JPB Documenti1 Filed 0

610 Bridgewater Drive
Sandy Springs, GA 30328
404-822-428]

Pursuant to N.D. Ga. Local Rules 5.1(B) and 7.1(
document is submitted in Times New Roman 14 point

/s/ RONALD R

1/16/20 Page 4 of 4

COLEMAN, JR.

RONALD R. COLEMAN, JR.

Georgia B

ar No.: 177653

Attorney |for Defendant

), I hereby certify that this
ype.

 

 
